                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

LUCILLE S. TAYLOR,
                                                Case No.: 1:19-cv-00670
      Plaintiff,
v
                                                HON. ROBERT J. JONKER
DENNIS M. BARNES, President of the State
Bar of Michigan Board of Commissioners;
ROBERT J. BUCHANAN, President-Elect of
the State Bar of Michigan Board of
Commissioners;
DANA M. WARNEZ, Vice President of the          PLAINTIFF’S FRCP 56 MOTION
State Bar of Michigan Board of                 AND BRIEF FOR
Commissioners;                                 SUMMARY JUDGMENT
JAMES W. HEATH, Secretary of the State
Bar of Michigan Board of Commissioners;
DANIEL D. QUICK, Treasurer of the State
                                                      Oral Argument Requested
Bar of Michigan Board of Commissioners,

      Defendants.



                   PLAINTIFF’S MOTION AND BRIEF IN SUPPORT
                    FOR SUMMARY JUDGMENT UNDER FRCP 56


                             Oral Argument Requested




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I.     INTRODUCTION

       The First Amendment protects free speech, the right to refrain from speaking, and the right

to be free from compelled speech. It similarly protects a right to free association, and a right to be

free from compelled association. The 14th Amendment extends these protections to the states. A

majority of states, approximately thirty-one, require that attorneys in their states, as a condition of

practicing law, must belong to a state bar and pay membership dues to that state bar. These are

called “integrated bars.” While a majority of states, including Michigan, require membership and

payment to an integrated bar, these mandatory states only include a minority of the nation’s

lawyers. Roughly 60% of the United States’ lawyers are free from these mandatory requirements

of integrated bars. 1 This is because a majority of the most populous states do not have mandatory

integrated bars.


1
  This data comes from state-by-state census from the American Bar Association’s 2019 National
Lawyer                   Population               Survey                  annual                 data.
https://www.americanbar.org/content/dam/aba/administrative/market_research/national-lawyer-
population-by-state-2019.pdf
Last accessed May 13, 2020.
Plaintiff’s review of this state-by-state data indicates that 60% of lawyers practice in a non-
integrated bar state. These non-integrated bar states are: Arkansas, California, Colorado,
Connecticut, Delaware, Illinois, Indiana, Iowa, Kansas, Maine, Maryland, Massachusetts,
Minnesota, New Jersey, New York, Ohio, Pennsylvania, Tennessee, and Vermont. (See the Joint
Statement of Material Facts at paragraph 63. A spreadsheet with these calculations is attached as
Exhibit 1 to this brief.)
        Nebraska, while still a mandatory integrated bar, has, by order of its supreme court, reduced
fees from approximately $300 to $100. While it did not abolish the integrated bar, it restricted
what mandatory fees can be used for to a greater extent than did Keller v. State Bar of California,
496 U.S. 1 (1990). In re Petition for a rule Change to Create a Voluntary State Bar of Nebraska,
286 Neb. 1018, 1035 (2013), held: “In our view, the best solution is to modify the court’s rules
creating and establishing the Bar Association (and other related rules) to limit the use of mandatory
dues, or assessments, to the regulation of the legal profession. This purpose clearly includes the
functions of (1) admitting qualified applicants to membership in the Bar Association, (2)
maintaining the records of membership, (3) enforcing the ethical rules governing the Bar
Association’s members, (4) regulating the mandate of continuing legal education, (5) maintaining
records of trust fund requirements for lawyers, and (6) pursuing those who engage in the
unauthorized practice of law.”



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       A previous Supreme Court opinion, Keller v. State Bar of California, 496 U.S. 1 (1990),

held that the integrated bars could require membership and payment, but that mandatory

membership and fees could only be used for public speech and advocacy for matters which were

closely related to the regulation and disciplining of the profession. In other words, lawyers could

be made to support speech and an organization which directly affected their own profession and

lives, but could not be compelled to join or to fund speech for controversial matters that were,

perhaps, further afield and not directly related to their profession – like gun control or nuclear

disarmament. Keller was based on what has now been pronounced to be a faulty standard of

review or scrutiny, and relied on precedents in other cases that have since been overturned by our

Supreme Court in Janus v. AFSCME, __ U.S. __; 138 S. Ct. 2448, 2463 (2018). Keller has

therefore been overturned as both its foundations and the standard it employed for reviewing free

speech and association claims has been overruled. Therefore, Keller is no longer good or

controlling law, and the mandatory integrated bar with its requisite membership and dues cannot

stand when the proper level of scrutiny is applied.


II.    BACKGROUND FACTS

A.     SBM Dues and Membership

       Plaintiff is challenging the mandatory membership and fees required to be paid to the State

Bar of Michigan (“SBM”) for non-disciplinary matters. To this end, Plaintiff challenges two-

thirds of the accounts which make up the mandatory dues and membership. Plaintiff’s dues

amounts, as well as all members’ dues amounts, are set by the Supreme Court of Michigan and are

allocated into three separate amounts for: (1) the Attorney Grievance Commission and the

Attorney Discipline Board, (2) the Client Protection Fund administered by the State Bar, and (3)




                                                 2
general membership and State Bar expenses. 2 (See the Joint Statement of Material Facts, “JSMF,”

Docket No. 16, at paragraph 22.) Plaintiff is challenging the second and third items, but not the

first item for the Attorney Grievance Commission and the Attorney Discipline Board. This is a

facial challenge to these requirements based on the state of the law as it stands after Janus, supra.

       The State Bar of Michigan is a public body corporate. MCL 600.901. (See JSMF paragraph

2.) The State of Michigan requires attorneys to become and stay members of the State Bar of

Michigan as a condition precedent to being licensed to practice law in Michigan. MCL 600.901.

(See JSMF paragraph 3.) Becoming and staying a member of the State Bar of Michigan requires

that lawyers, including Plaintiff, pay dues to the State Bar of Michigan. (See JSMF paragraph 4.)

       Plaintiff is a member of the State Bar of Michigan, and her dues have been paid through

2020. (See JSMF paragraph 4.) Plaintiff has paid her dues since becoming a practicing attorney

in Michigan and is not in arrears. (See JSMF paragraph 7.) The named Defendants are officers

of the State Bar of Michigan acting solely in their official capacities and acting under the color of

state law to enforce laws requiring membership in and paying dues to the State Bar of Michigan.

(See JSMF paragraph 8.)

B.     SBM Public Speech and Advocacy

       The State Bar of Michigan advocates positions on legislation, policies, or initiatives that

regulate or directly affect the regulation of the legal profession. Plaintiff does not challenge that,

at all times relevant to this lawsuit, the State Bar of Michigan has constrained itself to public

advocacy that was previously held to be allowable under Keller, 496 U.S. at 6. (See JSMF

paragraph 40.) This allowable advocacy has been described by the Michigan Supreme Court as:



2
 In 2019, the last year dues were set, these amounts were at (1) $120 for the Attorney Grievance
Commission and the Attorney Discipline Board, (2) $15 for the Client Protection Fund, and (3)
$180 for membership and general SBM expenses.



                                                  3
       I. IDEOLOGICAL ACTIVITIES GENERALLY.
       The State Bar of Michigan shall not, except as provided in this order, use the dues
       of its members to fund activities of an ideological nature that are not reasonably
       related to:
       (A) the regulation and discipline of attorneys;
       (B) the improvement of the functioning of the courts;
       (C) the availability of legal services to society;
       (D) the regulation of attorney trust accounts; and
       (E) the regulation of the legal profession, including the education, the ethics, the
       competency, and the integrity of the profession.

       ***

       II. ACTIVITIES INTENDED TO INFLUENCE LEGISLATION.
       (A) The State Bar of Michigan may use the mandatory dues of all members to
       review and analyze pending legislation.
       (B) The State Bar of Michigan may use the mandatory dues of all members to
       provide content-neutral technical assistance to legislators…;
       (C) No other activities intended to influence legislation may be funded with
       members’ mandatory dues, unless the legislation in question is limited to matters
       within the scope of the ideological-activities requirements in Section I.

Michigan Supreme Court Administrative Order No. 2004-01. (See JSMF paragraph 39.) Plaintiff

is not alleging that the State Bar of Michigan has exceeded these parameters.

       The advocacy of the State Bar of Michigan is not promulgated nor published with an

indication that it has come from the Michigan Supreme Court, the state judiciary, the governor, or

the legislature. It is always attributed to the State Bar of Michigan. (See JSMF paragraph 41.)

       Plaintiff’s dues are paid into the State Bar of Michigan treasury, and spent as authorized

by the Board of Commissioners: “All dues are paid into the State Bar treasury and maintained in

segregated accounts to pay State Bar expenses authorized by the Board of Commissioners and the

expenses of the attorney discipline system within the budget approved by the Supreme Court,

respectively.” (See JSMF paragraph 23.) Not all State Bar of Michigan members are required to

pay the non-disciplinary portion of expenses. A person who has been a member of the State Bar




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for at least 50 years shall not be assessed general expenses, but shall pay the full amount assessed

other members for the client security fund and the discipline agencies. (See JSMF paragraph 25.)

C.     SBM Governance

       The Representative Assembly is the final policy-making body of the State Bar of Michigan.

(See JSMF paragraph 13.) The elected representatives of the Representative Assembly are elected

by member lawyers in each judicial circuit. The judicial circuits are the election districts. Each

judicial circuit is entitled to one representative. The remaining seats are to be apportioned among

the circuits on the basis of lawyer population. (See JSMF paragraph 14.) The Representative

Assembly is comprised of 142 elected representatives and 8 commissioner representatives who are

the members of the executive committee of the Board of Commissioners. The Board of

Commissioners, in turn, is comprised of 20 elected members, and 5 members appointed by the

Supreme Court.     At no time will more than 5 members of the 150 representatives to the

Representative Assembly (3.333% of the total) be appointed by the Supreme Court. (See JSMF

paragraph 15.) No person holding judicial office may be elected or appointed an officer of the

Representative Assembly. No person holding judicial office may be elected or appointed an officer

of the Board of Commissioners. (See JSMF paragraph 16.) The Board of Commissioners elects

its officers from among its member commissioners. (See JSMF paragraph 17.) Three percent or

more of the active members of the State Bar may, by written petition, require consideration by the

Representative Assembly of any question of public policy germane to the function and purposes

of the State Bar. (See JSMF paragraph 18.) Twenty-five or more active members of the State Bar

of Michigan may file a written petition with the secretary at the principal office of the State Bar

no later than 90 days before the annual meeting of the State Bar, to require the convening of a

congress of the active members of the State Bar in conjunction with the annual meeting to consider




                                                 5
the subject matter raised in the petition. One hundred active members constitute a quorum. (See

JSMF paragraph 19.)

       Each year the Board of Commissioners causes to be presented an audited financial

statement of the receipts and expenditures of the State Bar of Michigan for the fiscal year. Such a

statement is filed with the Clerk of the Supreme Court and is published in the January issue of the

official publication of the SBM. (See JSMF paragraph 20.) The Board of Commissioners of the

State Bar of Michigan adopts the budget for the State Bar. (See JSMF paragraph 21.)

D.     The Attorney Grievance Commission and Attorney Discipline Board

       The Attorney Grievance Commission and the Attorney Discipline Board are separate

entities which are governed separately and are not funded out of the State Bar of Michigan’s

membership fees. Rather, the State Bar of Michigan collects and forwards a specific fee to those

two entities for their specific functions. All fees are collected and paid into the State Bar treasury

and are maintained in segregated accounts to pay State Bar expenses authorized by the Board of

Commissioners and the expenses of the attorney discipline system. Plaintiff is not challenging fees

related to these two attorney-discipline entities. (See JSMF paragraph 65.)

       The Attorney Grievance Commission is the prosecution arm of the Supreme Court.

Attorney Grievance Commission commissioners are appointed solely by the Supreme Court. The

Supreme Court chooses a chairperson and a vice-chairperson. Other officers are chosen by the

commissioners appointed by the Supreme Court. (See JSMF paragraphs 67 and 68.)

       The Attorney Discipline Board is the adjudicative arm of the Supreme Court for discharge

of its exclusive constitutional responsibility to supervise and discipline Michigan attorneys and

those temporarily admitted to practice under MCR 8.126 or otherwise subject to the disciplinary

authority of the Supreme Court. (See JSMF paragraph 69.) The board consists of 6 attorneys and




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3 laypersons appointed solely by the Supreme Court. The Supreme Court shall designate from

among the members of the board a chairperson and a vice-chairperson. Other officers are chosen

by the board from among its Supreme Court-appointed members. (See JSMF paragraph 71.)

E.     The Client Protection Fund

       The State Bar of Michigan Client Protection Fund reimburses certain clients who have been

victimized by lawyers who violate the profession’s ethical standards and misappropriate funds

entrusted to them. (See JSMF paragraph 28.) The Client Protection Fund does not reimburse all

such victimized clients nor, when it does reimburse these clients, does it always fully reimburse

those clients. It awards partial reimbursements, and sometimes no reimbursements. (See JSMF

paragraph 33.) Any reimbursement is at the discretion of the Board of Commissioners of the State

Bar of Michigan. (See JSMF paragraph 32.) The purpose of the Client Protection Fund “is to

promote public confidence in the administration of justice and integrity of the legal profession by

reimbursing losses caused by the dishonest conduct of lawyers admitted and licensed to practice

law in Michigan. Reimbursable losses must have occurred in the course of the lawyer-client or

other fiduciary relationship between the lawyer and claimant…” The Client Protection Fund does

not operate as an insurance policy. No client who submits a request for reimbursement has a right

to such reimbursement. The Client Protection Fund’s rules state: “REIMBURSEMENT FROM

FUND IS A MATTER OF GRACE” and, “No person shall have the legal right to reimbursement

from the Fund whether as a claimant, third party beneficiary or otherwise.” (See the Client Fund

Rules, Rule 13, attached as Exhibit B to JSMF paragraph 30.)




                                                7
III.   THE LAW

A.     Keller and its predecessors

       Until 2018, California had been an integrated bar state. 3 In the 1980s, members of the State

Bar of California, including plaintiff Eddie Keller, challenged the fact that their dues were used to

promote political causes that they did not agree with. The description and function of the State

Bar of California, as described in Keller, is almost identical to that of the SBM:

       The State Bar is an organization created under California law to regulate the State's
       legal profession. It is an entity commonly referred to as an “integrated bar”- an
       association of attorneys in which membership and dues are required as a condition
       of practicing law in a State. Respondent's broad statutory mission is to “promote
       ‘the improvement of the administration of justice.’” The association performs a
       variety of functions such as “examining applicants for admission, formulating rules
       of professional conduct, disciplining members for misconduct, preventing un-
       lawful practice of the law, and engaging in study and recommendation of changes
       in procedural law and improvement of the administration of justice.”

Keller, U.S. at 4-5 (internal citations omitted).

       In evaluating the California bar, the Keller court compared the bar’s status to that of a labor

union, rather than that of a state agency. This followed from a previous opinion on the subject of

compelled financial support for a state bar in Wisconsin, Lathrop v Donohue, 367 U.S. 820 (1961).




3
  In 2018, after allegations of scandal and excessive spending, California enacted legislation
splitting its bar into two groups. One group, which is still mandatory, focuses on attorney
admissions and discipline – the State Bar of California. The second group, the California Lawyers
Association, is a voluntary nonprofit, and this focuses on improving the profession and putting
forth new initiatives. The California Lawyers Association has also taken on the job of hosting the
various specialty sections. See the February 4, 2019 ABA Journal, “California Split: 1 year after
nation's largest bar became 2 entities, observers see positive change”: “The bill, SB 36, mandated
that the bar’s 16 specialty law sections depart the agency and become an independent nonprofit
entity. … The sections, which focus on topics ranging from business law to environmental law,
are best known for providing members with educational programming and networking
opportunities. They were jettisoned to CLA along with the California Young Lawyers
Association.”      http://www.abajournal.com/web/article/california-split-1-year-after-californias-
state-bar-became-2-entities-observers-see-positive-changes last accessed May 13, 2020:




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In Lathrop, the court in turn relied on an opinion deciding an earlier railway union matter, Railway

Employees v. Hanson, 351 U.S. 225 (1956). Lathrop analogized:

       In our view the case presents a claim of impingement upon freedom of association
       no different from that which we decided in [Hanson]. We there held that … the
       Railway Labor Act ... did not on its face abridge protected rights of association in
       authorizing union-shop agreements between interstate railroads and unions of their
       employees conditioning the employees' continued employment on payment of
       union dues, initiation fees and assessments.... In rejecting Hanson's claim of
       abridgment of his rights of freedom of association, we said, ‘On the present record,
       there is no more an infringement or impairment of First Amendment rights than
       there would be in the case of a lawyer who by state law is required to be a member
       of an integrated bar.’

Lathrop, 367 U.S. at 842 (plurality opinion). Keller followed Lathrop in this regard.

       Justice Harlan, joined by Justice Frankfurter [in a Lathrop concurring opinion],
       similarly concluded that “[t]he Hanson case ... decided by a unanimous Court,
       surely lays at rest all doubt that a State may constitutionally condition the right to
       practice law upon membership in an integrated bar association, a condition fully as
       justified by state needs as the union shop is by federal needs.”

Keller, 496 U.S. at 8-9.

       For this reason, to understand Keller, we must go back further and review how the Supreme

Court came to decide the union fees and integrated bar cases. These predicates show how the

Keller court came to the holding that it did.

       The first of these parallel labor mandatory-fee cases was Railway Employees v. Hanson,

351 U.S. 225 (1956). Hanson was brought by railroad employees challenging the requirement that

they join the union and pay dues, or lose their job. This was called a “union shop” agreement:

“Under the terms of the union shop agreement all employees of the railroad, as a condition of their

continued employment, must become members of the specified union within 60 days and thereafter

maintain that membership. It is alleged that failure on their part to join the union will mean the

loss of their employment together with seniority, retirement, pension, and other rights.” Hanson,

351 U.S. at 227. Hanson held that such a requirement was allowed because the federal statutes




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permitted it. The question of whether or not such compulsion violated First Amendment rights (as

well as Fifth Amendment rights) was raised, but the question was not evaluated under a First

Amendment analysis because there was no record developed on the matter. Therefore, the matter

was treated only as a question of whether or not Congress acted within its authority to regulate

interstate commerce:

       On the present record, there is no more an infringement or impairment of First
       Amendment rights than there would be in the case of a lawyer who by state law
       is required to be a member of an integrated bar. It is argued that compulsory
       membership will be used to impair freedom of expression. But that problem is not
       presented by this record. Congress endeavored to safeguard against that possibility
       by making explicit that no conditions to membership may be imposed except as
       respects ‘periodic dues, initiation fees, and assessments.’ If other conditions are in
       fact imposed, or if the exaction of dues, initiation fees, or assessments is used as a
       cover for forcing ideological conformity or other action in contravention of the First
       Amendment, this judgment will not prejudice the decision in that case. For we pass
       narrowly on s 2, Eleventh of the Railway Labor Act. We only hold that the
       requirement for financial support of the collective-bargaining agency by all who
       receive the benefits of its work is within the power of Congress under the
       Commerce Clause and does not violate either the First or the Fifth Amendments.

Hanson, 351 U.S. at 238 (emphasis added). Note that it is here where the integrated bars and

forced union membership or payment were first linked.

       What Hanson stated was that there was no infringement of First Amendment rights (or at

least no more than integrated bar dues), yet Hanson held this without articulating a standard it was

using to determine whether or not a First Amendment violation occurred. It can be inferred that

what the Hanson court used was the “rational basis” standard. Under such a standard, the question

is merely one of whether or not Congress acted within its given authority and had a valid reason

for enacting the statute. The standard has been described as:

       Whether embodied in the Fourteenth Amendment or inferred from the Fifth, equal
       protection is not a license for courts to judge the wisdom, fairness, or logic of
       legislative choices. In areas of social and economic policy, a statutory classification
       that neither proceeds along suspect lines nor infringes fundamental constitutional
       rights must be upheld against equal protection challenge if there is any reasonably




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       conceivable state of facts that could provide a rational basis for the classification.
       Where there are “plausible reasons” for Congress' action, “our inquiry is at an end.”

F.C.C. v. Beach Communications, Inc., 508 U.S. 307, 313-4 (1993) (internal citations omitted). If

a legislature had a “plausible reason” for its enactment, the court would uphold the requirement,

and this is what it did in Hanson:

       The choice by the Congress of the union shop as a stabilizing force seems to us to
       be an allowable one. Much might be said pro and con if the policy issue were before
       us. Powerful arguments have been made here that the longrun interests of labor
       would be better served by the development of democratic traditions in trade
       unionism without the coercive element of the union or the closed shop.
       ***
       But the question is one of policy with which the judiciary has no concern, as Mr.
       Justice Brandeis would have been the first to concede. Congress, acting within its
       constitutional powers, has the final say on policy issues. If it acts unwisely, the
       electorate can make a change. The task of the judiciary ends once it appears that
       the legislative measure adopted is relevant or appropriate to the constitutional
       power which Congress exercises. The ingredients of industrial peace and stabilized
       labor-management relations are numerous and complex. They may well vary from
       age to age and from industry to industry. What would be needful one decade might
       be anathema the next. The decision rests with the policy makers, not with the
       judiciary.

Hanson, 351 U.S. at 233-4.

       After Hanson, the matter of mandatory membership and dues or fees returned to the

Supreme Court in two cases. The aforementioned Lathrop, involving an integrated bar, and

International Association of Machinists v. Street, 367 U.S. 740 (1961), a union matter. Lathrop

was argued the day after Street, and the decision was handed down on the same day as Street. The

two would later be described by the Court as “companion case[s]” in the significant Supreme Court

case, Abood v. Detroit Board of Education, 431 U.S. 209 (1977).

       As discussed above, Lathrop, discussing the court’s rejection of Hanson's claim of

abridgment of his rights of freedom of association, said: ‘On the present record, there is no more

an infringement or impairment of First Amendment rights than there would be in the case of a




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lawyer who by state law is required to be a member of an integrated bar.’ Lathrop, 367 U.S. at

842. However, Lathrop was a plurality decision, and failed to reach a consensus on the First

Amendment question. In a later opinion, the Court would describe Lathrop’s holding this way:

“The only proposition about which a majority of the Court in Lathrop agreed was that the

constitutional issues should be reached. However, due to the disparate views of those five Justices

on the merits and the failure of the other four Members of the Court to discuss the constitutional

questions, Lathrop does not provide a clear holding to guide us in adjudicating the constitutional

questions here presented.” Abood v. Detroit Board of Education, 431 U.S. 209, 233, Fn. 29 (1977).

The Court would later summarize Lathrop’s companion case Street and its holding in Harris v.

Quinn, 573 U.S. 616 (2014):

       Five years [after Hanson], in Street, supra, the Court considered another case in
       which workers objected to a union shop. Employees of the Southern Railway
       System raised a First Amendment challenge, contending that a substantial part of
       the money that they were required to pay to the union was used to support political
       candidates and causes with which they disagreed. A Georgia court enjoined the
       enforcement of the union-shop provision and entered judgment for the dissenting
       employees in the amount of the payments that they had been forced to make to the
       union. The Georgia Supreme Court affirmed. Id., at 742–745, 81 S.Ct. 1784.

       Reviewing the State Supreme Court’s decision, this Court recognized that the case
       presented constitutional questions “of the utmost gravity,” id., at 749, 81 S.Ct.
       1784, but the Court found it unnecessary to reach those questions. Instead, the Court
       construed the RLA “as not vesting the unions with unlimited power to spend
       exacted money.” Id., at 768, 81 S.Ct. 1784. Specifically, the Court held, the Act “is
       to be construed to deny the unions, over an employee’s objection, the power to use
       his exacted funds to support political causes which he opposes.” Id., at 768–769,
       81 S.Ct. 1784.

       Having construed the RLA to contain this restriction, the Street Court then went on
       to discuss the remedies available for employees who objected to the use of union
       funds for political causes. The Court suggested two: The dissenting employees
       could be given a refund of the portion of their dues spent by the union for political
       or ideological purposes, or they could be given a refund of the portion spent on
       those political purposes that they had advised the union they disapproved.

Harris, 573 U.S. at 632. Unlike Hanson, Street never mentioned integrated bar associations.




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       After Hanson, Street, and Lathrop, but before Keller, the subject of mandatory dues being

a potential First Amendment violation returned to the Supreme Court with Abood, supra. Abood

dealt with mandatory fees which public-sector employees were required to pay to the union which

represented them in the workplace, despite the employees not being members of the union. 4 In

other words, mandatory fees were paid to the unions by the employees regardless of whether or

not the employees wanted to be a member of the union, or whether they wanted to fund and support

the union to speak on their behalf. In Abood, a public-sector employee who did not pay these

mandatory fees could be fired, analogous to how a lawyer cannot practice without paying

integrated bar dues. The plaintiff in Abood challenged this requirement as being a violation of his

First Amendment rights. Abood, 431 U.S. at 213.

       Abood held that Hanson and Street substantially answered the question about mandatory

dues and First Amendment rights. “Consideration of the question whether an agency-shop

provision in a collective-bargaining agreement covering governmental employees is, as such,

constitutionally valid must begin with two cases in this Court that on their face go far toward

resolving the issue. The cases are [Hanson and Street].” Abood, 431 U.S. at 217. Abood employed

a deferential standard which looked to whether or not the state legislature had a basis for requiring

mandatory payments, just as Hanson had looked to Congress’ basis for the federal Railway Labor

Act: “But the judgment clearly made in Hanson and Street is that such interference as exists is

constitutionally justified by the legislative assessment of the important contribution of the union

shop to the system of labor relations established by Congress.” Abood, 431 U.S. at 222. The

Abood court continued:




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  Hanson and Street dealt with the federal Railway Labor Act. Abood dealt with a Michigan state
legislative enactment which authorized mandatory dues for non-union-member employees.



                                                 13
       Our province is not to judge the wisdom of Michigan's decision to authorize the
       agency shop in public employment. Rather, it is to adjudicate the constitutionality
       of that decision. The same important government interests recognized in the
       Hanson and Street cases presumptively support the impingement upon
       associational freedom created by the agency shop here at issue. Thus, insofar as the
       service charge is used to finance expenditures by the Union for the purposes of
       collective bargaining, contract administration, and grievance adjustment, those two
       decisions of this Court appear to require validation of the agency-shop agreement
       before us.

Abood, 431 U.S. at 225-6.

       Abood allowed for mandatory fees to be extracted, but limited these fees to funding for

items that were germane to collective bargaining.

       We do not hold that a union cannot constitutionally spend funds for the expression
       of political views, on behalf of political candidates, or toward the advancement of
       other ideological causes not germane to its duties as collective-bargaining
       representative. Rather, the Constitution requires only that such expenditures be
       financed from charges, dues, or assessments paid by employees who do not object
       to advancing those ideas and who are not coerced into doing so against their will
       by the threat of loss of governmental employment.
        There will, of course, be difficult problems in drawing lines between collective-
       bargaining activities, for which contributions may be compelled, and ideological
       activities unrelated to collective bargaining, for which such compulsion is
       prohibited. The Court held in Street, as a matter of statutory construction, that a
       similar line must be drawn under the Railway Labor Act, but in the public sector
       the line may be somewhat hazier. The process of establishing a written collective-
       bargaining agreement prescribing the terms and conditions of public employment
       may require not merely concord at the bargaining table, but subsequent approval
       by other public authorities; related budgetary and appropriations decisions might
       be seen as an integral part of the bargaining process. We have no occasion in this
       case, however, to try to define such a dividing line. The case comes to us after a
       judgment on the pleadings, and there is no evidentiary record of any kind.

Abood, 431 U.S. at 236.

       This was the logic and precedent followed in Keller – it was allowable without violating

the First Amendment as long as it was germane to the function which supported the government’s

interest. “Abood held that a union could not expend a dissenting individual's dues for ideological

activities not ‘germane’ to the purpose for which compelled association was justified: collective




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bargaining. Here the compelled association and integrated bar are justified by the State's interest

in regulating the legal profession and improving the quality of legal services.” Keller, 496 U.S., at

13.

       One other Supreme Court opinion bears mentioning after Abood. Ellis v. Brotherhood of

Railway, Airline & Steamship Clerks, 466 U.S. 435 (1984) is another labor union matter regarding

mandated fees. Ellis followed Abood and dealt with employees seeking a refund for a portion of

their fees which went for activities that were not germane to collective bargaining. Ellis recognized

the First Amendment problem inherent to mandated fees but, again, treated it with the deferential

standard that the practice of mandatory dues or fees was allowable if it served to promote the

government’s interest. It therefore allowed such “impingement” as it had already been accepted

by the aforementioned line of cases:

       The First Amendment does limit the uses to which the union can put funds obtained
       from dissenting employees. See generally Abood v. Detroit Board of Education,
       431 U.S. 209, 97 S.Ct. 1782, 52 L.Ed. 2d 261 (1977). But by allowing the union
       shop at all, we have already countenanced a significant impingement on First
       Amendment rights. The dissenting employee is forced to support financially an
       organization with whose principles and demands he may disagree. “To be required
       to help finance the union as a collective-bargaining agent might well be thought ...
       to interfere in some way with an employee's freedom to associate for the
       advancement of ideas, or to refrain from doing so, as he sees fit.” Id., at 222,
       97 S.Ct., at 1793. It has long been settled that such interference with First
       Amendment rights is justified by the governmental interest in industrial peace.
       Ibid.; Street, 367 U.S., at 776, 778, 81 S.Ct., at 1805 (Douglas, J., concurring);
       Hanson, 351 U.S., at 238, 76 S.Ct., at 721. At a minimum, the union may
       constitutionally “expend uniform exactions under the union-shop agreement in
       support of activities germane to collective bargaining.” Railway Clerks v. Allen,
       373 U.S., at 122, 83 S.Ct., at 1163. The issue is whether these expenses involve
       additional interference with the First Amendment interests of objecting employees,
       and, if so, whether they are nonetheless adequately supported by a governmental
       interest.

       Petitioners do not explicitly contend that union social activities implicate serious
       First Amendment interests. We need not determine whether contributing money to
       such affairs is an act triggering First Amendment protection. To the extent it is, the
       communicative content is not inherent in the act, but stems from the union's




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       involvement in it. The objection is that these are union social hours. Therefore, the
       fact that the employee is forced to contribute does not increase the infringement of
       his First Amendment rights already resulting from the compelled contribution to
       the union. Petitioners may feel that their money is not being well-spent, but that
       does not mean they have a First Amendment complaint.

       The First Amendment concerns with regard to publications and conventions are
       more serious; both have direct communicative content and involve the expression
       of ideas. Nonetheless, we perceive little additional infringement of First
       Amendment rights beyond that already accepted, and none that is not justified by
       the governmental interests behind the union shop itself.

Ellis, 466 U.S. at 455-6.

       It is here that our jurisprudence was set for Keller to hold as it did that integrated bar dues

and association did not violate the First Amendment where these dues were for a purpose related

to the mission of the bar association, as given to it by the state. However, in time, the Supreme

Court began to question what had gone before in Hanson, Street, Lathrop, and Abood. The first

case to call into question this previous line of cases was Knox v. Service Employees International

Union, Local 1000, 567 U.S. 298 (2012). Knox involved California non-union-member public

employees who objected to mid-year fees they were charged by the union which represented them

for the union’s political activities. 5 The Knox Court called into question the previous line of cases,

but did not need to revisit or resolve the issue, as it could be resolved on the more narrow issue of

whether an employee who objected to such mandatory fees had to opt in or opt out to refuse to pay

for non-germane speech and activities:

       Although the difference between opt-out and opt-in schemes is important, our prior


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  In Knox, the matter involved a procedure whereby employees could object to portions of their
dues which were spent on political activities, and seek a refund. This was called a “Hudson notice”
after Teachers v. Hudson, 475 U.S. 292 (1986). Other than setting the stage for Knox, Hudson has
no relevancy here. The SBM has a similar process for challenging the use of dues if a lawyer
believes these to be outside of the Keller parameters. (See JSMF paragraph 54.) Because Plaintiff
does not challenge the SBM for exceeding these parameters, and makes a facial challenge that any
such compelled speech and association violates the First Amendment, the requirements for getting
refunds before or after the fact of the speech and association are irrelevant.



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       cases have given surprisingly little attention to this distinction. Indeed, acceptance
       of the opt-out approach appears to have come about more as a historical accident
       than through the careful application of First Amendment principles.

       The trail begins with dicta in Street, where we considered whether a federal
       collective-bargaining statute authorized a union to impose compulsory fees for
       political activities. 367 U.S., at 774, 81 S.Ct. 1784. The plaintiffs were employees
       who had affirmatively objected to the way their fees were being used, and so we
       took that feature of the case for granted. We held that the statute did not authorize
       the use of the objecting employees’ fees for ideological purposes, and we stated in
       passing that “dissent is not to be presumed—it must affirmatively be made known
       to the union by the dissenting employee.” Ibid. In making that offhand remark, we
       did not pause to consider the broader constitutional implications of an affirmative
       opt-out requirement. Nor did we explore the extent of First Amendment protection
       for employees who might not qualify as active “dissenters” but who would
       nonetheless prefer to keep their own money rather than subsidizing by default
       the political agenda of a state-favored union.

       In later cases such as Abood and Hudson, we assumed without any focused analysis
       that the dicta from Street had authorized the opt-out requirement as a constitutional
       matter. Thus in Hudson we did not take issue with the union’s practice of giving
       employees annual notice and an opportunity to object to expected political
       expenditures. At the same time, however, we made it clear that the procedures used
       by a union to collect money from nonmembers must satisfy a high standard.

       ***
       Far from calling for a balancing of rights or interests, Hudson made it clear that any
       procedure for exacting fees from unwilling contributors must be “carefully tailored
       to minimize the infringement” of free speech rights. 475 U.S., at 303, 106 S.Ct.
       1066. And to underscore the meaning of this careful tailoring, we followed that
       statement with a citation to cases holding that measures burdening the freedom of
       speech or association must serve a “compelling interest” and must not be
       significantly broader than necessary to serve that interest.

Knox, 567 U.S. at 312-4 (emphasis added, footnote omitted).

       Because Knox noted the problems with the previous line of cases but did not need to resolve

these problems to adjudicate the matter at hand, the matter subsequently came up again in Harris

v Quinn, 573 U.S. 616 (2014). Harris dealt with home-care workers – personal assistants for

medical care and hygiene - who were legislatively deemed public employees for the sole purpose

of collective bargaining with the state. In all other aspects, these workers were in the private




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employment of the person whose home they came to in order to assist in their care, although they

received compensation from publicly-funded programs. In Harris, the Supreme Court described

the previous line of cases and the insufficiency of those cases’ First Amendment analysis:

       The Hanson Court dismissed the objecting employees’ First Amendment argument
       with a single sentence. The Court wrote: “On the present record, there is no more
       an infringement or impairment of First Amendment rights than there would be in
       the case of a lawyer who by state law is required to be a member of an integrated
       bar.” Id., at 238, 76 S.Ct. 714.

       This explanation was remarkable for two reasons. First, the Court had never
       previously held that compulsory membership in and the payment of dues to an
       integrated bar was constitutional, and the constitutionality of such a requirement
       was hardly a foregone conclusion. Indeed, that issue did not reach the Court until
       five years later, and it produced a plurality opinion and four separate writings. See
       Lathrop v. Donohue, 367 U.S. 820, 81 S.Ct. 1826, 6 L.Ed.2d 1191 (1961) (plurality
       opinion).
       Second, in his Lathrop dissent, Justice Douglas, the author of Hanson, came to the
       conclusion that the First Amendment did not permit compulsory membership in an
       integrated bar. See 367 U.S., at 878–880, 81 S.Ct. 1826. The analogy drawn in
       Hanson, he wrote, fails. “Once we approve this measure,” he warned, “we sanction
       a device where men and women in almost any profession or calling can be at least
       partially regimented behind causes which they oppose.” 367 U.S., at 884, 81 S.Ct.
       1826. He continued:

               “I look on the Hanson case as a narrow exception to be closely confined.
               Unless we so treat it, we practically give carte blanche to any legislature to
               put at least professional people into goose-stepping brigades. Those
               brigades are not compatible with the First Amendment.” Id., at 884–885, 81
               S.Ct. 1826 (footnote omitted).

       The First Amendment analysis in Hanson was thin, and the Court’s resulting First
       Amendment holding was narrow. As the Court later noted, “all that was held in
       Hanson was that [the Railway Labor Act] was constitutional in its bare
       authorization of union-shop contracts requiring workers to give ‘financial support’
       to unions legally authorized to act as their collective bargaining agents.” Street, 367
       U.S., at 749, 81 S.Ct. 1784 (emphasis added). The Court did not suggest that
       “industrial peace” could justify a law that “forces men into ideological and political
       associations which violate their right to freedom of conscience, freedom of
       association, and freedom of thought,” or a law that forces a person to “conform to
       [a union’s] ideology.” Hanson, supra, at 236–237, 76 S.Ct. 714. The RLA did not
       compel such results, and the record in Hanson did not show that this had occurred.




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Harris, 573 U.S. at 630-1. Harris would go on at length to criticize Abood in its context regarding

labor unions:

       The Abood Court’s analysis is questionable. ...The Abood Court seriously erred in
       treating Hanson and Street as having all but decided the constitutionality of
       compulsory payments to a public sector union. … The Abood Court fundamentally
       misunderstood the holding in Hanson, ... Abood failed to appreciate the difference
       between the core union speech involuntarily subsidized by dissenting public-sector
       employees and the core union speech involuntarily funded by their counterparts in
       the private sector. … Abood failed to appreciate the conceptual difficulty of
       distinguishing in public-sector cases between union expenditures that are made for
       collective bargaining purposes and those that are made to achieve political ends. …
       Abood does not seem to have anticipated the magnitude of the practical
       administrative problems that would result in attempting to classify public-sector
       expenditures…

Harris, 573 U.S. at 635-7.

       Despite Harris’s extensive critique of Abood, the issue was resolved without overturning

or altering Abood. Rather, as the Harris issue involved the distinction between public and private-

sector employees, the Harris Court found that the personal assistants in question were not public

employees – or, at least, not “full-fledged” public employees, and therefore Abood did not apply

to them, and the First Amendment question was avoided. “If we allowed Abood to be extended to

those who are not full-fledged public employees, it would be hard to see just where to draw the

line, and we therefore confine Abood’s reach to full-fledged state employees.” Harris, 573 U.S.

at 638-9.

       The constitutional question of compelled fees, speech, and association for public

employees in the union context would wait until Janus v. AFSCME, __ U.S. __; 138 S. Ct. 2448

(2018) to be taken up again. Janus explicitly overruled Abood.

       Abood was poorly reasoned. It has led to practical problems and abuse. It is
       inconsistent with other First Amendment cases and has been undermined by more
       recent decisions. Developments since Abood was handed down have shed new light
       on the issue of agency fees, and no reliance interests on the part of public-sector




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       unions are sufficient to justify the perpetuation of the free speech violations that
       Abood has countenanced for the past 41 years. Abood is therefore overruled.

Janus, 138 S. Ct. at 2460. Janus set forth a lengthy discussion of First Amendment rights and their

application to compelled speech:

       The First Amendment, made applicable to the States by the Fourteenth
       Amendment, forbids abridgment of the freedom of speech. We have held time and
       again that freedom of speech “includes both the right to speak freely and the right
       to refrain from speaking at all.” Wooley v. Maynard, 430 U.S. 705, 714, 97 S.Ct.
       1428, 51 L.Ed.2d 752 (1977); see Riley v. National Federation of Blind of N. C.,
       Inc., 487 U.S. 781, 796–797, 108 S.Ct. 2667, 101 L.Ed.2d 669 (1988); Harper &
       Row, Publishers, Inc. v. Nation Enterprises, 471 U.S. 539, 559, 105 S.Ct. 2218, 85
       L.Ed.2d 588 (1985); Miami Herald Publishing Co. v. Tornillo, 418 U.S. 241, 256–
       257, 94 S.Ct. 2831, 41 L.Ed.2d 730 (1974); accord, Pacific Gas & Elec. Co. v.
       Public Util. Comm’n of Cal., 475 U.S. 1, 9, 106 S.Ct. 903, 89 L.Ed.2d 1 (1986)
       (plurality opinion). The right to eschew association for expressive purposes is
       likewise protected. Roberts v. United States Jaycees, 468 U.S. 609, 623, 104 S.Ct.
       3244, 82 L.Ed.2d 462 (1984) (“Freedom of association ... plainly presupposes a
       freedom not to associate”); see Pacific Gas & Elec., supra, at 12, 106 S.Ct. 903
       (“[F]orced associations that burden protected speech are impermissible”). As
       Justice Jackson memorably put it: “If there is any fixed star in our constitutional
       constellation, it is that no official, high or petty, can prescribe what shall be
       orthodox in politics, nationalism, religion, or other matters of opinion or force
       citizens to confess by word or act their faith therein.” West Virginia Bd. of Ed. v.
       Barnette, 319 U.S. 624, 642, 63 S.Ct. 1178, 87 L.Ed. 1628 (1943) (emphasis
       added).

       Compelling individuals to mouth support for views they find objectionable violates
       that cardinal constitutional command, and in most contexts, any such effort would
       be universally condemned. Suppose, for example, that the State of Illinois required
       all residents to sign a document expressing support for a particular set of positions
       on controversial public issues—say, the platform of one of the major political
       parties. No one, we trust, would seriously argue that the First Amendment permits
       this.

       Perhaps because such compulsion so plainly violates the Constitution, most of our
       free speech cases have involved restrictions on what can be said, rather than laws
       compelling speech. But measures compelling speech are at least as threatening.

       Free speech serves many ends. It is essential to our democratic form of government,
       see, e.g., Garrison v. Louisiana, 379 U.S. 64, 74–75, 85 S.Ct. 209, 13 L.Ed.2d 125
       (1964), and it furthers the search for truth, see, e.g., Thornhill v. Alabama, 310 U.S.
       88, 95, 60 S.Ct. 736, 84 L.Ed. 1093 (1940). Whenever the Federal Government or
       a State prevents individuals from saying what they think on important matters or




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compels them to voice ideas with which they disagree, it undermines these ends.

When speech is compelled, however, additional damage is done. In that situation,
individuals are coerced into betraying their convictions. Forcing free and
independent individuals to endorse ideas they find objectionable is always
demeaning, and for this reason, one of our landmark free speech cases said that a
law commanding “involuntary affirmation” of objected-to beliefs would require
“even more immediate and urgent grounds” than a law demanding silence.
Barnette, supra, at 633, 63 S.Ct. 1178; see also Riley, supra, at 796–797, 108 S.Ct.
2667 (rejecting “deferential test” for compelled speech claims).

Compelling a person to subsidize the speech of other private speakers raises similar
First Amendment concerns. Knox, supra, at 309, 132 S.Ct. 2277; United States v.
United Foods, Inc., 533 U.S. 405, 410, 121 S.Ct. 2334, 150 L.Ed.2d 438 (2001);
Abood, supra, at 222, 234–235, 97 S.Ct. 1782. As Jefferson famously put it, “to
compel a man to furnish contributions of money for the propagation of opinions
which he disbelieves and abhor[s] is sinful and tyrannical.” A Bill for Establishing
Religious Freedom, in 2 Papers of Thomas Jefferson 545 (J. Boyd ed. 1950)
(emphasis deleted and footnote omitted); see also Hudson, 475 U.S., at 305, n. 15,
106 S.Ct. 1066. We have therefore recognized that a “ ‘significant impingement on
First Amendment rights’ ” occurs when public employees are required to provide
financial support for a union that “takes many positions during collective
bargaining that have powerful political and civic consequences.” Knox, supra, at
310–311, 132 S.Ct. 2277 (quoting Ellis v. Railway Clerks, 466 U.S. 435, 455, 104
S.Ct. 1883, 80 L.Ed.2d 428 (1984) ).

Because the compelled subsidization of private speech seriously impinges on First
Amendment rights, it cannot be casually allowed. Our free speech cases have
identified “levels of scrutiny” to be applied in different contexts, and in three recent
cases, we have considered the standard that should be used in judging the
constitutionality of agency fees. See Knox, supra; Harris, supra; Friedrichs v.
California Teachers Assn., 578 U.S. ––––, 136 S.Ct. 1083, 194 L.Ed.2d 255 (2016)
(per curiam) (affirming decision below by equally divided Court).

In Knox, the first of these cases, we found it sufficient to hold that the conduct in
question was unconstitutional under even the test used for the compulsory
subsidization of commercial speech. 567 U.S., at 309–310, 321–322, 132 S.Ct.
2277. Even though commercial speech has been thought to enjoy a lesser degree of
protection, see, e.g., Central Hudson Gas & Elec. Corp. v. Public Serv. Comm’n of
N. Y., 447 U.S. 557, 562–563, 100 S.Ct. 2343, 65 L.Ed.2d 341 (1980), prior
precedent in that area, specifically United Foods, supra, had applied what we
characterized as “exacting” scrutiny, Knox, 567 U.S., at 310, 132 S.Ct. 2277, a less
demanding test than the “strict” scrutiny that might be thought to apply outside the
commercial sphere. Under “exacting” scrutiny, we noted, a compelled subsidy must
“serve a compelling state interest that cannot be achieved through means
significantly less restrictive of associational freedoms.” Ibid. (internal quotation




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       marks and alterations omitted).

       In Harris, the second of these cases, we again found that an agency-fee requirement
       failed “exacting scrutiny.” 573 U.S., at __, 134 S.Ct., at 2641. But we questioned
       whether that test provides sufficient protection for free speech rights, since “it is
       apparent that the speech compelled” in agency-fee cases “is not commercial
       speech.” Id., at ___, 134 S.Ct., at 2639.

       Picking up that cue, petitioner in the present case contends that the Illinois law at
       issue should be subjected to “strict scrutiny.” Brief for Petitioner 36. The dissent,
       on the other hand, proposes that we apply what amounts to rational-basis review,
       that is, that we ask only whether a government employer could reasonably believe
       that the exaction of agency fees serves its interests. See post, at 2489 (KAGAN, J.,
       dissenting) (“A government entity could reasonably conclude that such a clause
       was needed”). This form of minimal scrutiny is foreign to our free-speech
       jurisprudence, and we reject it here. At the same time, we again find it unnecessary
       to decide the issue of strict scrutiny because the Illinois scheme cannot survive
       under even the more permissive standard applied in Knox and Harris.

Janus, 138 S.Ct. at 2463-5.

III.   ANALYSIS

       In Janus, the Supreme Court overruled Abood and explicitly required that compelled

speech cases be evaluated under, at a minimum, exacting scrutiny - if not strict scrutiny. The Janus

Court explicitly overruled the case whose precedent was the foundation for Keller, as well as use

of the rational-basis review employed in Keller. For these reasons, Keller itself has been overruled

and can no longer be considered good law. This is true whether or not we follow exacting scrutiny

or strict scrutiny. Since strict scrutiny would also encompass the lesser exacting scrutiny, this brief

will show that compelled bar dues and association cannot meet even this lesser scrutiny.

       Assuming that the mission of the SBM, like the California Bar association, rises to the level

of an important state interest as in Lathrop, Keller and Abood, would that justify such a First

Amendment violation? “Abood held that a union could not expend a dissenting individual's dues

for ideological activities not ‘germane’ to the purpose for which compelled association was

justified: collective bargaining. Here the compelled association and integrated bar are justified by




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the State's interest in regulating the legal profession and improving the quality of legal services.”

Keller, 496 U.S., at 13. From Janus, we get the exacting standard it must meet:

         [P]rior precedent in that area, specifically [United States v United Foods, 533 U.S.
         405 (2001)], had applied what we characterized as “exacting” scrutiny, Knox, 567
         U.S., at 310, 132 S.Ct. 2277, a less demanding test than the “strict” scrutiny that
         might be thought to apply outside the commercial sphere. Under “exacting”
         scrutiny, we noted, a compelled subsidy must ‘serve a compelling state interest that
         cannot be achieved through means significantly less restrictive of associational
         freedoms.’ Ibid.

Janus, 138 S.Ct. at 2635.

         The violation of Plaintiff’s First Amendment rights is a very real concern. The SBM, even

under the Keller constraints, advocates and promotes positions related to the legal profession that

are not universally held. These go beyond actions specifically labeled as legislative position-

taking. Although this is a facial challenge, a few examples may be enlightening. In October 2013,

the SBM “sent a letter to Michigan Secretary of State Ruth Johnson requesting that she issue a

declaratory ruling to create greater transparency for the sources of funding for judicial campaign

advertisements.” The letter was reproduced in full in the SBM’s publication sent to all attorneys,

the Michigan Bar Journal. 6 Neither the goal nor how such goals are pursued can be presumed to

have universal concurrence. “Compelling individuals to mouth support for views they find

objectionable violates that cardinal constitutional command, and in most contexts, any such effort

would be universally condemned. Suppose, for example, that the State of Illinois required all

residents to sign a document expressing support for a particular set of positions on controversial

public issues—say, the platform of one of the major political parties. No one, we trust, would

seriously argue that the First Amendment permits this.” Janus, 138 S.Ct. at 2463-4. The very fact




6
    https://www.michbar.org/file/barjournal/article/documents/pdf4article2280.pdf




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that the SBM has advocated for a mandatory integrated bar 7 shows that it requires its members to

put forth speech and advocacy with which they do not necessarily agree – as Plaintiff does not

agree. “Suppose that a particular group lobbies or speaks out on behalf of what it thinks are the

needs of senior citizens or veterans or physicians, to take just a few examples. Could the

government require that all seniors, veterans, or doctors pay for that service even if they object? It

has never been thought that this is permissible.” Janus, 138 S.Ct. at 2466.

         Keller’s claim, that there can be compelled speech as long as it is germane to the public

interest it serves, does not stand after Janus. Even germane speech is of public concern, and

individuals cannot be compelled to support it. “A similar problem arises with respect to speech

that is germane to collective bargaining. The parties dispute how much of this speech is of public

concern, but respondents concede that much of it falls squarely into that category. See Tr. of Oral

Arg. 47, 65.” Janus, 138 S.Ct. at 2473.

         While it may be true that lawyers who disagree with SBM positions can voice their

opinions separately, this does not overcome their right to be free from compulsion. The very fact

the SBM can be said to speak for all lawyers amplifies its voice, and therefore drowns out

individual objecting lawyers. Again, the Janus Court recognized this problem: “When a large

number of employees speak through their union, the category of speech that is of public concern

is greatly enlarged, and the category of speech that is of only private concern is substantially

shrunk.” Janus, 138 S.Ct. at 2473.

         That the state could achieve its interests through a less restrictive method than mandating

support for the SBM should be obvious from the fact that the majority of lawyers in the United

States are not subject to a mandatory integrated bar. By the count of the American Bar Association,


7
    http://www.michbar.org/file/barjournal/article/documents/pdf4article3621.pdf




                                                 24
approximately 60% of lawyers in nineteen states are not required to join an integrated bar. Without

such a requirement, there does not appear to be much evidence that restricting associational

freedoms is the only way such goals can be achieved. Indeed, with California recently adopting a

voluntary bar association, it would appear that the movement is away from the integrated bar

model. With nineteen other states operating under such a model, that is conclusive evidence that

it is possible, and there is no reason that Michigan could not operate in that manner as well.

       Further, in Michigan, other professions are not subject to this mandatory requirement.

Other professionals, including physicians, are licensed, but are not compelled to join or support a

professional organization as a requirement for that license. 8 If the state interest in making sure

that physicians are competent does not require that they join and fund a membership organization,

then it is not necessary for attorneys.

       If the state has an interest in monitoring and policing lawyers, can that interest be met with

a less restrictive method? Again, the experience of other states shows that it can. Here, in

Michigan, the two attorney discipline bodies operate independently of the SBM. SBM collects the

portion of the dues destined for the Attorney Grievance Commission and the Attorney Discipline

Board, but that is the extent of their collaboration. (See JSMF paragraph 65.) Both the Attorney

Grievance Commission and the Attorney Discipline Board are controlled by the Michigan

Supreme Court, and not the SBM. (See JSMF paragraphs 67, 68, and 69.) Even if these two

separate entities cooperate with the SBM such that the SBM assists in ministerial functions with

the two bodies, and then these two reimburse the SBM, these functions are such that they could be

performed in-house by the two disciplinary bodies. The mere usefulness, or even efficiency, of



8
 The conditions for licensing medical doctors in Michigan can be found here:
https://www.michigan.gov/documents/lara/MD_Licensing_Guide_654158_7.pdf
Membership in a professional organization is not a requirement.



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sharing ministerial tasks does not rise to a level that can overcome exacting scrutiny. “To meet

the requirement of narrow tailoring, the government must demonstrate that alternative measures

that burden substantially less speech would fail to achieve the government’s interests, not simply

that the chosen route is easier.” McCullen v. Coakley, 573 U.S. 464, 495 (2014).

       Even when acknowledging that the government has an interest in regulating the legal

profession, there are numerous less restrictive ways that it could do this without injuring Plaintiff’s

and other attorneys’ free speech and association rights. The SBM or an equivalent could be funded

through the legislative appropriations process.        It could be funded strictly by voluntary

contributions, as in other states. Nor can the SBM claim that without mandatory membership and

dues, it would be unfair for lawyers to benefit from its advocacy and functions. The “free rider”

argument was dealt with in Knox and Janus, and rejected. “As we have noted, ‘free-rider

arguments ... are generally insufficient to overcome First Amendment objections.’ Knox, 567 U.S.,

at 311, 132 S.Ct. 2277.” Janus, 138 S. Ct. at 2466. Many less restrictive funding options are

available that would comply with the exacting scrutiny standard. Again, one is not entitled to the

benefit of an option that is more onerous to the protected right, just because “the chosen route is

easier.” McCullen, supra.

       The actions the SBM takes through the Client Protection Fund cannot be said to be an

interest so compelling that it requires mandatory membership and support. Such programs exist

in all fifty states. Yet not all of these require mandatory membership. (See JSMF paragraph 29.)

It is not akin to any kind of government program for the reason that is a discretionary program

which confers no legal rights on any clients. (See JSMF paragraph 32.) It is not an insurance

program nor an entitlement such as these are conceived of and administered by government

agencies. Its sole purpose is to “promote public confidence in the administration of justice and




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integrity of the legal profession,” (See JSMF at 30, and Client Protection Fund Rules 1(A) and 13.)

In that role it is more akin to a promotional activity to prevent loss of confidence in the legal

system. Such a goal may be laudatory or not, but it is not one that attorneys should be required to

support. And given the high hurdle that compelling speech and association must reach to overcome

First Amendment objections, there are surely less intrusive ways to meet this goal. Requiring

bonds or malpractice insurance as a condition of licensing, for instance.

       The entire concept of the integrated bar cannot be said to be in accordance with the First

Amendment as it was originally understood. As in Janus:

       [The defendant union] cannot point to any accepted founding-era practice that even
       remotely resembles the compulsory assessment of agency fees from public-sector
       employees. We do know, however, that prominent members of the founding
       generation condemned laws requiring public employees to affirm or support beliefs
       with which they disagreed. As noted, Jefferson denounced compelled support for
       such beliefs as “ ‘sinful and tyrannical,’ ” … and others expressed similar views.8

              FN8 See, e.g., Ellsworth, The Landholder, VII (1787), in Essays on the Constitution
              of the United States 167–171 (P. Ford ed. 1892); Webster, On Test Laws, Oaths of
              Allegiance and Abjuration, and Partial Exclusions from Office, in A Collection of
              Essays and Fugitiv[e] Writings 151–153 (1790).

Janus, 138 S.Ct. at 2466. Attorneys, just like public employees, should not be required to affirm

or support such positions.

       The voluntary nature of professional associations had been presumed to be their strength.

The prominent 19th century observer of the United States, Alexis de Tocqueville, noted that

Americans had a tendency to form voluntary associations to provide social coordination and solve

the problems in society: “Americans of all ages, all stations in life, and all types of disposition are

forever forming associations. There are not only commercial and industrial associations in which

all take part, but other of a thousand different types—religious, moral, serious, futile, very general

and very limited, immensely large and very minute. … [I]f they want to proclaim a truth or




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propagate some feeling by the encouragement of a great example, they form an association. In

every case, as the head of any new undertaking, where in France you would find the government

or in England some territorial magnate, in the United States you are sure to find an association.” 9

          Janus clearly overturned Keller. The rational basis used in Keller cannot be applied to the

scrutiny of First Amendment violations. The standard must be, at the very least, exacting scrutiny.

As the SBM cannot overcome exacting scrutiny, it surely cannot overcome the more stringent

strict scrutiny.    Abood was expressly overruled, and Keller fell with it. Like public-sector

employees, attorneys cannot be compelled to join or fund organizations whose speech on their

behalf they do not wish to support. For this reason, there is no triable issue of material fact. Under

the facts submitted by the parties’ JSMF, it can be shown that the mandatory fees and membership

are not necessary to the state’s interest in regulating the legal profession, and the state’s interest

can be met in other, less burdensome ways, just as they are in other states and with other

professions. As a matter of law, these interests do not rise to the level of a compelling state interest.

This court should grant Plaintiff’s motion for summary judgment and declare that mandatory

association and funding of an organization which speaks on Plaintiff’s behalf is unconstitutional.

Further, this court should enjoin the defendant officers from collecting dues or fees from Plaintiff

for non-disciplinary-related actions unless she voluntarily signs a clear and knowing waiver which

acknowledges that, by paying those dues, Plaintiff is waiving her constitutional right to free

speech.



Respectfully submitted: May 15, 2020            MACKINAC CENTER LEGAL FOUNDATION

                                                 By __/s/ Derk Wilcox__________


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Derk A. Wilcox (P66177)
Patrick J. Wright (P54052)
140 West Main Street
Midland, Michigan 48640
(989) 631-0900
wilcox@mackinac.org
Attorneys for Plaintiff




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In accordance with LCivR 7.2, the filer hereby certifies that this motion and brief comply with the

word limit, and contain 10,760 words, as counted by Microsoft Word 2013.

                                                     /s/ Derk A, Wilcox

                                                     Derk A. Wilcox (P66177)
                                                     140 West Main Street
                                                     Midland, Michigan 48640
                                                     (989) 631-0900
                                                     wilcox@mackinac.org




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